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U.S. v. Randeep Mann

Court Case No: 4:14CV00423 BSM
For Asset ID(s): See Attached Advertisement Copy

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29 11/06/2014 24.0 Verified
30 11/07/2014 24.0 Verified

Additional log information is available and kept in the archives for 15 years after the asset has been disposed.

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF ARKANSAS
COURT CASE NUMBER: 4:14CV00423 BSM; NOTICE OF FORFEITURE ACTION

Pursuant to 28 U.S.C. § 2461(c) and 26 U.S.C. § 5872, the United States filed a
verified Complaint for Forfeiture against the following property:

Rock Island Armory Inc. (Geneseo, IL) M60 Machinegun CAL:762 SN:10438
(09-ATF-025362) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR

Heckler & Koch MP5 Machinegun CAL:9 SN:11949 (09-ATF-025363) which was
seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in
London, AR

Colt M16A1 Machinegun CAL:556 SN:9162144 (09-ATF-025364) which was
seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in
London, AR

UNKNOWN MANUFACTURER INY Tech 9 Machinegun CAL:9 SN:23588
(09-ATF-025365) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR

Heckler & Koch HK21 Machinegun CAL:762 SN:25187 (09-ATF-025366) which
was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located
in London, AR

Heckler & Koch 93 Machine Gun CAL:223 SN:A123717 (09-ATF-025367) which
was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located
in London, AR

Springfield Armory, Geneseo, IL M1A Machinegun CAL:762 SN:0305048
(09-ATF-025368) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR

Beretta USA Corp. BM59 Machine Gun CAL:762 SN:X000264 (09-ATF-025369)
which was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln,
located in London, AR

Valmet 78 Machine Gun CAL:762 SN:158867 (09-ATF-025370) which was seized
from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in London,
AR

Armalite AR 18 Machine Gun CAL:556 SN:A6123 (09-ATF-025371) which was
seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in
London, AR

FABRIQUE D'ARMES DE GUERRE DE PRECISION 4/58 Machine Gun CAL:762
SN:83477 (09-ATF-025372) which was seized from Randeep Mann on August 07,
2009 at 313 Milky Way Ln, located in London, AR

H&K MP5SD SILENCER CAL:* SN:001808 (09-ATF-025373) which was seized
from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in London,

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AR

AWC SYSTEMS OPTIMA SILENCER CAL:* SN:A-372 (09-ATF-025374) which
was seized from Randeep | Mann on August 07, 2009 at 313 Milky Way Ln, located
in London, AR

AWC SYSTEMS OPTIMA SILENCER CAL:* SN:P4021 (09-ATF-025375) which
was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located
in London, AR

QUALIFIED MANUFACTURING ** RECEIVER CAL:** SN:A236 (09-ATF-025376)
which was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln,
located in London, AR

QUALIFIED MANUFACTURING ** RECEIVER CAL:** SN:A233 (09-ATF-025377)
which was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln,
located in London, AR

MILITARY ARMAMENT M10 SILENCER CAL:unknown SN:2-2002435
(09-ATF-025378) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR -

AMERICAN ARMS INC M10 Machine Gun CAL:22 SN:A01170 (09-ATF-025379)
which was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln,
located in London, AR

SWD M11 Machine Gun CAL:9 SN:850007444 (09-ATF-025380) which was seized
from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in London,
AR

BERETTA CORP. 93R Machine Gun CAL:9 SN:C01793Z (09-ATF-025381) which
was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located
in London, AR

HECKLER & KOCH 94 Machine Gun CAL:9 SN:7203 (09-ATF-025382) which was
seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in
London, AR

WALTHER MPL Machine Gun CAL:9 SN:29393 (09-ATF-025383) which was
seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in
London, AR

INTRATEC TECH 9 Machine Gun CAL:9 SN:23877 (09-ATF-025384) which was .
seized from Randeep Mann on n August 07, 2009 at 313 Milky Way Ln, located in
London, AR

VECTOR ARMS HR4332 MACHINGUN CAL:9 SN:102288 (09-ATF-025385) which
was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located
in London, AR

SMITH MANUFACTURING, INC. HOLLAND, OH UZI MACHINEGUN CAL:9
SN:114107 (09-ATF-025386) which was seized from Randeep Mann on August 07,
2009 at 313 Milky Way Ln, located in London, AR

HECKLER & KOCH MP5 MACHINEGUN CAL:9 SN:7967 (09-ATF-025387) which

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was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located
in London, AR

VECTOR ARMS, INC HR4332 MACHINEGUN CAL:45 SN:102408
(09-ATF-025388) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR

WALTHER MP MACHINEGUN CAL:9 SN:6447 (09-ATF-025389) which was
seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in
London, AR

VECTOR ARMS HR4332 MACHINEGUN CAL:45 SN:102407 (09-ATF-025390)
which was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln,
located in London, AR

COLT M16A1 MACHINEGUN CAL:556 SN:9559375 (09-ATF-025391) which was
seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in
London, AR

WALTHER KURZ170 Machine Gun CAL:9 SN:5170 (09-ATF-025392) which was
seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in
London, AR

G.E. LEWIS & SONS MP40 Machine Gun CAL:9 SN:2293 (09-ATF-025393) which
was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located
in London, AR

RUGER AC-556 MACHINEGUN CAL:223 SN:191-12640 (09-ATF-025394) which
was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located
in London, AR

RUGER AC-556 MACHINEGUN CAL:223 SN:191-12641 (09-ATF-025395) which
was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located
in London, AR

GALENA INDUSTRIES IMI Machine Gun CAL:556 SN:AAL2076333
(09-ATF-025396) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR

SPRINGFIELD ARMOURY GENESEO, IL SAR 48 MACHINEGUN CAL:762
SN:SF-1004 (09-ATF-025397) which was seized from Randeep Mann on August
07, 2009 at 313 Milky Way Ln, located in London, AR

RUGER AC-556 Machine Gun CAL:223 SN:19112475 (09-ATF-025398) which
was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located
in London, AR

G.E. LEWIS & SONS MG42 Machine Gun CAL:792 SN:6033c (09-ATF-025399)
which was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln,
located in London, AR

HECKLER & KOCH MP5D Machine Gun CAL:9 SN:C319043 (09-ATF-025400)
which was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln,
located in London, AR

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ONE RED DOG TARGET SUPPLY SILENCER CAL:** SN:S-2170
(09-ATF-025401) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR

WILLIAMS ARMS COMPANY SWEDK MACHINEGUN CAL:9 SN:L011
(09-ATF-025402) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR

BERETTA USA CORP 12S Machine Gun CAL:9 SN:F37524 (09-ATF-025403)
which was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln,
located in London, AR

JAPAN AC-556 Machine Gun CAL:77 SN:6742 (09-ATF-025404) which was
seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in
London, AR

G.E. LEWIS & SONS MG34 Machine Gun CAL:8 SN:8611F (09-ATF-025405)
which was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln,
located in London, AR

G.E. LEWIS & SONS MG42 Machine Gun CAL:792 SN:2068c (09-ATF-025406)
which was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln,
located in London, AR

FNH USA LLC FNB MACHINEGUN CAL:556 SN:FN007997 (09-ATF-025407)
which was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln,
located in London, AR

POLYTECHNOLOGIES AKS Machine Gun CAL:762 SN:PF85000722
(09-ATF-025408) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR

FNH USA, LLC MINI M1 MACHINEGUN CAL:556 SN:FNOQ08965 (09-ATF-025409)
which was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln,
located in London, AR

UNKNOWN MANUFACTURER FD M78 MACHINEGUN CAL:308 SN:390127
(09-ATF-025410) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR

VALMET M78 MACHINEGUN CAL:556 SN:158834 (09-ATF-025411) which was
seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in
London, AR

UNKNOWN MANUFACTURER IPR MG34 MACHINEGUN CAL:8 SN:1666
(09-ATF-025412) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR

UNKNOWN MANUFACTURER INR MP44 MACHINEGUN CAL:792 SN:6910
(09-ATF-025413) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR

UNKNOWN MANUFACTURER AOC 1928 MACHINEGUN CAL:45 SN:2071A
(09-ATF-025414) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR

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ONE HEC HK AUTO SEAR CAL:** SN:H1836 (09-ATF-025415) which was seized
from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in London,
AR

ONE HEC HK AUTO SEAR CAL:** SN:H1835 (09-ATF-025416) which was seized

from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in London,
AR

ONE HEC UNKNOWN HK CAL:** SN:H1834 (09-ATF-025417) which was seized
from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in London,
AR

_ ONE ATO MKQ9 SILENCER CAL:** SN:S-0534 (09-ATF-025418) which was seized
from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in London,
AR

ONE MIX M10 SILENCER CAL:** SN:2-2001792 (09-ATF-025419) which was
seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in
London, AR

COBRA ENTERPRISES M11 MACHINEGUN CAL:9 SN:XX-XXXXXXX
(09-ATF-025420) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR

COBRA ENTERPRISES M11 MACHINEGUN CAL:9 SN:XX-XXXXXXX
(09-ATF-025421) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR

UNKNOWN MANUFACTURER ER MAPLES M2HB MACHINEGUN CAL:50
$N:000120 (09-ATF-025422) which was seized from Randeep Mann on August 07,
2009 at 313 Milky Way Ln, located in London, AR

COLT M3 MACHINEGUN CAL:50 SN:2310263 (09-ATF-025423) which was seized
from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in London,
AR

STEYR AUG MACHINEGUN CAL:223 SN:900SA067 (09-ATF-025424) which was
seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in
London, AR

HECKLER & KOCH UNKNOWN MACHINEGUN CAL:9 SN:H1327
(09-ATF-025425) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR

FNH USA, LLC UNKNOWN MACHINEGUN CAL:223 SN:FNO08629
(09-ATF-025426) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR

UNKNOWN MANUFACTURER BREN MK1 MACHINEGUN CAL:303 SN:1M68135
(09-ATF-025427) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR

HARRINGTON & RICHARDSON M16 MACHINEGUN CAL:9 SN:2005748
(09-ATF-025428) which was seized from Randeep Mann on August 07, 2009 at

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313 Milky Way Ln, located in London, AR

HECKLER & KOCH MP5 MACHINEGUN CAL:9 SN:H0164 (09-ATF-025429)
which was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln,
located in London, AR

UNKNOWN MANUFACTURER ** SILENCER CAL:** SN:11127S
(09-ATF-025430) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR

COLT AR15 MACHINEGUN CAL:303 SN:SP85682 (09-ATF-025431) which was
seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in
London, AR

COBRA ENTERPRISES UNKNOWN MACHINEGUN CAL:223 SN:XX-XXXXXXX
(09-ATF-025432) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR

WALTHER MP MACHINEGUN CAL:9 SN:11750 (09-ATF-025433) which was
seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in
London, AR

UNKNOWN MANUFACTURER GE MP40 MACHINEGUN CAL:9 SN:6534A
(09-ATF-025434) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR

F.N. (F.N. HERSTAL) INR MP44 MACHINEGUN CAL:762 SN:6602392
_ (09-ATF-025435) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR

UNKNOWN MANUFACTURING FMT 58 MACHINEGUN CAL:762 SN:112121AC
(09-ATF-025436) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR

RUGER AC-556 MACHINEGUN CAL:223 SN:191-12644 (09-ATF-025437) which
was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located
in London, AR

RUGER AC-556 MACHINEGUN CAL:223 SN:191-12643 (09-ATF-025438) which
was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located
in London, AR

RUGER AC-556 MACHINEGUN CAL:223 SN:191-12642 (09-ATF-025439) which
was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located
in London, AR

UNKNOWN MANUFACTURER GE MG34 MACHINEGUN CAL:792 SN:6225
(09-ATF-025440) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR

SPRINGFIELD ARMORY, GENESEO, IL M1A MACHINEGUN CAL:762
SN:038641 (09-ATF-025441) which was seized from Randeep Mann on August 07,
2009 at 313 Milky Way Ln, located in London, AR .

VALMET UNKNOWN MACHINEGUN CAL:223 SN:165357 (09-ATF-025442)

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which was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln,
located in London, AR

BERETTA USA CORP SC70 MACHINEGUN CAL:223 SN:M32605
(09-ATF-025443) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR

COLT M16A2 MACHINEGUN CAL:9 SN:B002353 (09-ATF-025444) which was
seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in
London, AR

DUNOCK BURTON UNKNOWN AUTO SEAR CAL:** SN:A1000 (09-ATF-025445)
which was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln,
located in London, AR

SWD GA AUTO SEAR CAL:** SN:AC234 (09-ATF-025446) which was seized
from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in London,
AR

COLT M16 MACHINEGUN CAL:556 SN:9053204 (09-ATF-025447) which was
seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in
London, AR

BGW R30 SILENCER CAL:** SN:S0495 (09-ATF-025448) which was seized from
Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in London, AR

FABRIQUE D'ARMES DE GUERRE DE PRECISION SPORTER MACHINEGUN
CAL:223 SN:023083 (09-ATF-025449) which was seized from Randeep Mann on
‘August 07, 2009 at 313 Milky Way Ln, located in London, AR

STERLING SMG MACHINEGUN CAL:9 SN:KR11216 (09-ATF-025450) which was
seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located in
London, AR

S&H ARMS UNKNOWN SILENCER CAL:** SN:40125 (09-ATF-025451) which
was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln, located
in London, AR

HECKLER & KOCH MP5K MACHINEGUN CAL:9 SN:7977 (09-ATF-025452)
which was seized from Randeep Mann on August 07, 2009 at 313 Milky Way Ln,
located in London, AR .

BERETTA USA CORP BM59 MACHINEGUN CAL:762 SN:X000246
_ (09-ATF-025453) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR

UNKNOWN MANUFACTURER BREM MkII MACHINEGUN CAL:762 SN:8T8019
(09-ATF-025454) which was seized from Randeep Mann on August 07, 2009 at
313 Milky Way Ln, located in London, AR

Any person claiming a legal interest in the Defendant Property must file a verified Claim
with the court within 60 days from the first day of publication (October 09, 2014) of this
Notice on this official government internet web site and an Answer to the complaint or
motion under Rule 12 of the Federal Rules of Civil Procedure within 21 days thereafter.
18 U.S.C. § 983(h)(1) permits a court to impose a civil fine on anyone asserting an

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interest in property which the court determines was frivolous.

The verified Claim and Answer must be filed with the Clerk of the Court, 600 West
Capitol, Suite A-149, Little Rock, AR 72201, and copies of each served upon Assistant
United States Attorney Cameron McCree, 425 W. Capitol, Ste 500, Little Rock, AR
72201, or default and forfeiture will be ordered. See, 18 U.S.C. § 983(a)(4)(A) and Rule
G(5) of the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture
Actions.

